  Case 1:21-cv-01523-MN Document 33 Filed 06/27/22 Page 1 of 1 PageID #: 326

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                                           June 27, 2022

Via CM/ECF
The Honorable Maryellen Noreika
United States District Court
District of Delaware
844 N. King Street, Unit 19, Room 4324
Wilmington, DE 19801

       Re:     John Rigby, et al., v. Kathy Jennings, Attorney General of Delaware,
               C.A. No. 21-01523 MN

Dear Judge Noreika:

       I write on behalf of the parties in response to Your Honor’s June 23 oral order requesting

that the parties confer and submit a schedule for additional briefing to address the effect of the

Supreme Court’s recent decision in New York State Rifle & Pistol Assn., Inc. v. Bruen in this case.

The parties agree that extensive additional briefing should not be required in order to explain the

import of Bruen. Consequently, unless Your Honor prefers otherwise, the parties intend to each

submit a letter brief not exceeding five pages by 6:00 p.m. on Friday, July 1, 2022, in which each

of the parties will explain its view of the effect Bruen has on the pending motions in this case.

       I am available at the convenience of the Court should Your Honor have any questions.

                                                             Respectfully,

                                                             /s/ Bradley P. Lehman
                                                             Bradley P. Lehman (DE 5921)

Cc (via CM/ECF):       Kenneth Wan, Esq.
                       Patricia Davis, Esq.
                       Andrew Fletcher, Esq.
